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                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
AC2T, Inc., d/b/a Spartan Mosquito,  :
                                     :    Civil Action
              Plaintiff,             :    Case no. 2:19-cv-05946-RBS
                                     :
              v.                     :    Jury Trial Demanded
                                     :
Colin Purrington,                    :
                                     :
              Defendant.             :
____________________________________:

         PLAINTIFF’S RESPONSE TO MOTION TO DISMISS COUNT II
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I.     Summary.

       The requirement to plead specific pecuniary damages does not apply to

commercial disparagement claims when “the disparagement rises to the level of

defamation per se.” Am. Bd. of Internal Med. v. Muller, 2011 U.S. Dist. LEXIS 25169, at

*17 (E.D. Pa. Mar. 10, 2011); see also Bro-Tech Corp. v. Thermax, Inc., 651 F. Supp. 2d 378,

416 (E.D. Pa. 2009) (“This requirement is relaxed where the disparagement claimed rises

to the level of defamation per se…”). In other words, if the commercial disparagement

“equates to defamation per se”, then “the need to plead the specifics regarding

pecuniary loss is obviated.” Am. Bd. v. Muller, 2011 U.S. Dist. LEXIS 25169 at 20.

       The Amended Complaint alleges at paragraph 36 that the Defendant’s

statements rise to the level of defamatory per se, and gives a list of examples:

       Many of the Defendants’ statements rise to the level of defamatory per se
       because they accuse the Plaintiff of acting improperly or committing
       misconduct with regards to its business; others accuse the Plaintiff of
       spreading diseases. For example, the statement in Exhibit A accuses the
       Plaintiff of putting customers “and their families” at risk of contracting
       diseases, and that the product does not do anything about mosquitoes.
       Similarly, Exhibit A states that the product is a scam, which attacks the
       honesty and integrity of the Plaintiff. Exhibit E accuses the Plaintiff of
       spreading an invasive species. Exhibit F states, “It’s a successful scheme.”
       In a follow-up message, the Defendant then wrote that it is “marketed to
       folks who are predisposed to believe the name is truthful.” Exhibit B
       includes the language, “putting people’s health at risk,” and also contains
       the accusation of a scam. Exhibit C accuses the Plaintiff of violating federal
       law.

Amended Complaint, ¶ 36.



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       The Defendant’s statements meet this standard because they “impute[] to

another conduct, characteristics, or a condition that would adversely affect her in her

lawful business or trade.” Am. Bd. of Internal Med., 2011 U.S. Dist. LEXIS 25169, at 17.

Therefore, “the need to plead the specifics regarding pecuniary loss is obviated.” Id. at

20. For these reasons, the Court should deny the renewed 12(b) motion and allow

Count II (Commercial Disparagement) to proceed.

II.    Facts and Procedural History.

       The Plaintiff’s original Complaint (ECF 1) asserted two counts: 1) defamation

and 2) commercial disparagement. The Defendant moved to dismiss both counts under

Rule 12(b)(6) for failure to state a claim. Motion to Dismiss (ECF 6). The Court denied

the motion with respect to defamation and allowed the defamation claim to move

forward. Opinion (ECF 12), page 9. The Court granted the motion with respect to the

commercial disparagement claim. Id., page 10.

       However, the Court granted the Plaintiff leave to amend. Order (ECF 13), page

1. The Plaintiff did so and filed an Amended Complaint on November 12, 2020. (ECF

15). The Amended Complaint reasserts the commercial disparagement count.

However, the Amended Complaint avers that the Defendant’s statements rise to the

level of defamatory per se. Amended Complaint, ¶ 36; see Am. Bd. of Internal Med. v.

Muller, 2011 U.S. Dist. LEXIS 25169, at *17 (E.D. Pa. Mar. 10, 2011) (“Pennsylvania law

requires that a plaintiff claiming commercial disparagement plead damages with



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considerable specificity…. This requirement is relaxed where the disparagement

claimed rises to the level of defamation per se”).

       For example, many of the Defendant’s statements accuse the Plaintiff of

operating a “scam”, a “scheme”, a “fiction to get gullible people to buy it”, “deceptive

advertising”, and otherwise defrauding people, all of which attack the Plaintiff’s

honesty and integrity. Amended Complaint, ¶ 36, Exhibits A, B, F, H, I, J, and K. Some

statements accuse the Plaintiff of putting customers “and their families” at risk of

contracting diseases, “putting people’s health at risk”, or spreading invasive species.

Amended Complaint, ¶ 36, Exhibits A, B, and E. Others accuse the Plaintiff of violating

federal law. Amended Complaint, ¶ 36, Exhibit C.

       The Defendant filed a renewed motion to dismiss on November 25, 2020. (ECF

16). The renewed motion only asks for dismissal of Count II, Commercial

Disparagement – the sole basis is the failure to plead specific pecuniary damages. As

explained below, the disparaging statements rise to the level of per se defamation.

Therefore, the Court should deny the renewed 12(b) motion.

III.   Argument.

       A.     Standard.

       To survive a 12(b) motion to dismiss, the “complaint must contain sufficient

factual matter, accepted as true, to state a claim to relief that is plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotations omitted). A complaint “does not



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need detailed factual allegations,” but “requires more than labels and conclusions, and

a formulaic recitation of the elements…” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007).

          B.    If the commercial disparagement rises to the level of defamatory per se,
                then the need to plead specifics regarding pecuniary loss is obviated.

          The requirement to plead specific pecuniary loss for commercial disparagement

claims does not apply if the disparaging statements rise to the level of per se

defamation. “Pennsylvania law requires that a plaintiff claiming commercial

disparagement plead damages with considerable specificity… This requirement is

relaxed where the disparagement rises to the level of defamation per se, through

publication which imputes to another conduct, characteristics, or a condition that would

adversely affect her in her lawful business or trade.” Am. Bd. of Internal Med. v. Muller,

2011 U.S. Dist. LEXIS 25169, at *17 (E.D. Pa. Mar. 10, 2011); see also Bro-Tech Corp. v.

Thermax, Inc., 651 F. Supp. 2d 378, 416 (E.D. Pa. 2009) (“This requirement is relaxed

where the disparagement claimed rises to the level of defamation per se…”).

          In Am. Bd. v. Muller, a doctor asserted defamation and commercial

disparagement claims against a medical board for claiming that she cheated on her

certification examination. Id. at 20 and 23-24. Addressing the commercial

disparagement claim, the court reasoned that although commercial disparagement

claims ordinarily require specific allegations of damages, this requirement is “obviated”

when the statements rise to the level of per se defamation – that is, when the statements


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impute to the plaintiff “conduct, characteristics, or a condition that would adversely

affect her in her lawful business or trade…” Id. at 20. Since a statement that a doctor

cheated on her certification exam “arguably equates to defamation per se”, the “need to

plead the specifics regarding pecuniary loss is obviated…” Id. The court therefore

denied the motion to dismiss the commercial disparagement claim.

       C.     The Defendants’ statements rise to the level of per se defamation
              because they accuse the Plaintiff of deceiving people, violating the law,
              and spreading diseases.

       The traditional categories of per se defamation include, among other things:

criminal offenses, loathsome diseases, and matters incompatible with the plaintiff’s

business, trade, profession, or office. Restatement (2d) of Torts, §§ 571, 572, and 573.

With respect to commercial disparagement, courts have found that a statement rises to

this level if it “imputes to another conduct, characteristics, or a condition that would

adversely affect her in her lawful business or trade.” Am. Bd. of Internal Med. v. Muller,

2011 U.S. Dist. LEXIS 25169, at *17 (E.D. Pa. Mar. 10, 2011).

       The statements attached to the Complaint and Amended Complaint meet this

standard. The Defendant repeatedly accuses the Plaintiff of committing fraud, with

language such as “It’s a successful scheme” (Ex. F); “The Spartan Mosquito Eradicator is

a complete scam” (Ex. A); “fiction to get gullible people to buy it” (Ex. J); “scams like

the Spartan Mosquito Eradicator” (Ex. B); “Spartan Mosquito misled states…” (Ex. G);

“Spartan Mosquito Eradicator is a scam” (Ex. H); “They just want to sell it to people



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who might not recognize it instantly as a scam” (Ex. I); “It’s all a fiction to get gullible

people to buy it” (Ex. J); “just state that the seller has used deceptive advertising and

that the product doesn’t work” (Ex. K). The Defendant accuses the Plaintiff of violating

federal or state law. Exs. C and G. And he repeatedly accuses the Plaintiff of putting

people’s health at risk and spreading invasive species. Exs. A, B, D, and E.

       Each of these statements imputes to the Plaintiff conduct and characteristics that

would adversely affect its lawful business. The statements that the Plaintiff engages in

deceptive practices or breaks the law suggest that the Plaintiff is dishonest while

simultaneously attacking the efficacy of the product itself. The statements that the

Plaintiff puts people’s health at risk suggests an insidious motive or at least that the

Plaintiff is apathetic about people’s health. Similarly, the claims of spreading an

invasive species suggest either an insidious motive or that the Plaintiff is at least

indifferent.

       All of these statements impute characteristics and conduct to the Plaintiff that

would adversely affect the Plaintiff’s business. For these reasons, the need to plead

specific pecuniary loss is obviated, and the renewed motion should be denied.

IV.    Conclusion.

       The Court should deny the Defendant’s renewed 12(b) motion, and the Court

should allow Count II (Commercial Disparagement) to proceed.




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                                         Respectfully submitted,



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December 9, 2020




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